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Connick, Corinna . March 24, 2009
Cleveland, OH
Page 1
1 , IN THE UNITED STATES DISTRICT COURT
2 FOR THE DISTRICT OF MASSACHUSETTS
Bo fe eee +--+ == -- x
4 “IN RE: PHARMACRUTICAL  : MDL NO. 1456
5 INDUSTRY AVERAGE -: CIVIL ACTION |
6 WHOLESALE PRICE : OL-CV=12257-PBS
7 LITIGATION og Judge Patti B. Saris
8 oon eee ----x Chief Magistrate
9 THIS DOCUMENT RELATES TO : Judge Marianne B.

10 ALL CASES IN MDL NO. 1456 : Bowler

QL 00 wae ene aa ae nn ------------ x

1? .

13 DEPOSITION OF CORINNA CONNICK
14. . - = -

15 - Tuesday, March ‘24, 2009.
16 10:06 o'clock a.m.

17 . Webster & Dubyak

18 1220 West 6th Street, Suite 600
19 Cleveland, Ohio 44113

20: oe

21 oO ANN FORD

22, REGISTERED PROFESSIONAL REPORTER

Henderson Legal Services, Inc,
202-220-4158 www.hendersonlegalservices.com
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Gase 1:01-cv-12257- ‘PBS Document 6004

Connick, Corinna

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Cleveland, OH
Page 62 Page 64 fj
i MR, COCHRAN: Okay. 1 with, "There is only one problem, Class Counsel =f
2 THE WITNESS: I'm not sure. 2 does not represent the ISHPs, who will receive
3. BY MS. FOUNTAIN CONNOLLY: 3 51.8 million of the $125 million total, and,
4 Q, You have, if you turn to Page 6 of your 4 therefore, there is no basis for Class Counsel to
5. objection, the last sentence of the partial first 5 request any portion of that 51.8 million under the
6 paragraph, so above, "The Court should require the | 6 common benefit doctrine."
7 parties,” it says, "The suspect allocation of the 7 I just wanted to clarify that that is
8 ‘settlement fund between consumers and. 8 actually your position, that there is no basis for
9 institutional plaintiffs in this case is 9 dass counsel to request any portion of those
10 compounded by the difficulty of filing a consumer 10 = funds; is that the case?
11 caim form." And T'll represent that the sentence 11 A. I don't think they should get 30 percent
12. goes on, but I'm going to stop there. 12. of the 51 or the 5? million. That seems awfully —
13 What do you believe to be difficult 13 high for a group that has their own attorneys and
14 about filling out the consumer claim form in this 14 who were charged by their attorneys.
15 case? 15 Q. Do you have any understanding that class |
16 A. Well, I feel that there's a lot of 16 counsel represented those large ISHPs throughout |
17 people that don't even know this is going on. 17 ‘the course of this litigation?
148 They may never find out this is going on. And 18 A. That -- I do not believe that to be my
19 there are older people, there are people who are 19 understanding. 1 believe they had their own
20 mentally not capable of filling out the form, but 20 attorneys.
21 yet they are entitled to receive their benefits. Zi Q. Would that change your understanding of |
22 And if there's an easier way out thera. 22 dass counsel's entitlement to some of that fee if |
Page 63 Page 65 |f
1 te get it to them, that's what we should co; 1 you knew that class counsel had represented some —
2 that's what should happen. 2 of these ISHPs throughout the course of the:
3 Q. Have you looked at the claim form 3 litigation?
4 itself? 4 A. I would have to discuss that with my
5 A. No, [ have not. 5 attomeys.
6 Q. So you're just saying in general it 6. MR. COCHRAN: Couldn't that be a
7 would be easier for people to get checks -- 7 conflict of interest?
8 A. ‘Yes. g MS. FOUNTAIN CONNOLLY: I don't think
9 Q. - than to fill out a form? 9 I'm the one under examination here,
10 A, Yes, If the information is there, it, 10 MR. COCHRAN: No, I'm just saying your
11s should be used. , ‘41 suqqestion that you're representing the class and
12 MR. COCHRAN: Page 7, 12. at the same time you're representing the ISHPs,
13 MS. FOUNTAIN CONNOLLY: Page 7? 13 that suggested that in the question to the
14 MR. COCHRAN: Oh, I thought that's where | 14 witness. I'm saying, how could that be? Wouldn't
15) we were going. 15 that be.a conflict of interest since they're
16- BY MS. FOUNTAIN CONNOLLY: 16 fighting against each other for the same fund?
17 Q. No, We've covered a lot of this. 501 i7 _ MS, FOUNTAIN CONNOLLY: The question was |}
18 don't want to duplicate what we've talked about 18 throughout the course of the litigation, not
19 before already, . 19 during the allocation process.
20 If you turn to Page 8, in the first full 20 MR. COCHRAN: Well, in the course of the
21 paragraph it starts with, "Class counsel have 21 litigation, wouldn't that still be a conflict of
22 requested," there's a sentence there that starts interest?

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